961 F.2d 1570
    Ward (Karen J.)v.Cheltenham Township Police Department, Ott (Stephen),Webster (Kenneth H.), Cheltenham Township; CheltenhamTownship Police Department, Ott (Stephen), CheltemhamTownship v. Ward (Karen J.); Ward (Karen J.) v. CheltenhamTownship Police Department, Ott (Stephen), Webster (KennethH.), Cheltenham Township
    NOS. 91-1416, 91-1467
    United States Court of Appeals,Third Circuit.
    Apr 06, 1992
    
      1
      Appeal From:  E.D.Pa.
    
    
      2
      AFFIRMED.
    
    